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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                    AT PADUCAH

                               (FILED ELECTRONICALLY)


                  5:18-cv-96-TBR
CIVIL ACTION NO. ________________________

UNITED STATES OF AMERICA                                             PLAINTIFF

vs.

DAVID W. GROVES                                                     DEFENDANTS
175 West Drive
Murray, KY 42071-9830
and
785 Oak Park Blvd.
Calvert City, KY 42029

CARRIE ANN GROVES n/k/a
CARRIE ANN GONZALEZ
4311 Spruce Road
Melissa, Texas 75454

MANUEL GONZALEZ, JR.,
as spouse of CARRIE ANN GONZALEZ
4311 Spruce Road
Melissa, Texas 75454

MELISSA H. GROVES, as spouse
Of David W. Groves
175 West Drive
Murray, KY 42071-9830
and
785 Oak Park Blvd.
Calvert City, KY 42029

JPMORGAN CHASE BANK, NA
SERVE: Strother and Handel
1096 Duval Street, Suite 210
Lexington, Kentucky 40515
And
SERVE: C T Corporation System,
Registered Agent
306 W. Main Street, Suite 512
Frankfort, KY 40601



                            COMPLAINT FOR FORECLOSURE


      Plaintiff, the United States of America, states as follows:
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      1.    This is a mortgage foreclosure action brought by the United

States of America on behalf of its agency, the United States Department of

Agriculture Rural Housing Service also known as Rural Development

(hereinafter collectively "RHS").

      2.    Jurisdiction arises under 28 U.S.C. § 1345.    Venue is proper in

this judicial division, where the subject property is located.

      3.    RHS is the holder of a promissory note ("the Note") executed for

value on July 26, 2000 by Defendants David W. Groves and Carrie Ann Groves

now known as Carrie Ann Gonzalez ("the Borrowers").     The principal amount of

the Note was $55,000.00, bearing interest at the rate of 7.375 percent per

annum, and payable in monthly installments as specified in the Note.    A copy

of the Note is attached as Exhibit A and incorporated by reference as if set

forth fully herein.

      4.    The Note is secured by a Real Estate Mortgage (the "Mortgage")

recorded on July 26, 2000, in Mortgage Book 351, Page 640, in the Office of

the Clerk of Calloway County, Kentucky.     Through the Mortgage, the Borrowers,

then married to each other, granted RHS a first mortgage lien against the

real property including all improvements, fixtures and appurtenances thereto

at 175 West Drive, Murray, Calloway County, Kentucky (the "Property") and

described in more detail in the Mortgage.    A copy of the Mortgage is attached

as Exhibit B and incorporated by reference as if set forth fully herein.

      5.    To receive subsidies on the loan, the Borrowers signed a Subsidy

Repayment Agreement authorizing RHS to recapture, upon transfer of title or

non-occupancy of the Property, any subsidies granted to the Borrowers by RHS.

A copy of the Subsidy Repayment Agreement is attached as Exhibit C and

incorporated by reference as if set forth fully herein.

      6.    Upon information and belief, subsequent to the Borrowers

incurring the mortgage indebtedness that is the subject of this action,



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Carrie Ann Groves n/k/a Carrie Ann Gonzalez and David W. Groves were

divorced.

         7.    Upon information and belief, Defendant Carrie Ann Groves n/k/a

Carrie Ann Gonzalez married Manuel Gonzalez, Jr., and they remain husband and

wife.     The United States does not seek to impose personal liability on Manuel

Gonzalez, Jr., on account of the Note and Mortgage in this action.     He is

named as a defendant in the event that he may wish to assert a spousal

interest in the Property.    If such a spousal interest exists, it is junior in

rank and subordinate in priority to the first mortgage lien on the Property

in favor of RHS.    RHS is entitled to a foreclosure sale of the Property free

and clear of any interest therein or claim thereon in favor of Defendant

Manuel Gonzalez, Jr., and the Plaintiff calls upon him to come forth and

assert his claim or his interest in the Property or be forever barred.

         8.    Upon information and belief, Defendant David W. Groves married

Melissa H. Groves, and they remain husband and wife.    The United States does

not seek to impose personal liability on Melissa H. Groves on account of the

Note and Mortgage in this action.    She is named as a defendant in the event

that Melissa H. Groves may wish to assert a spousal interest in the Property.

If such a spousal interest exists, it is junior in rank and subordinate in

priority to the first mortgage lien on the Property in favor of RHS.     RHS is

entitled to a foreclosure sale of the Property free and clear of any interest

therein or claim thereon in favor of Defendant Melissa H. Groves, and the

Plaintiff calls upon her to come forth and assert her claim or her interest

in the Property or be forever barred.

         9.    The Mortgage granted to RHS by the Borrowers is a purchase money

mortgage.     Pursuant to KRS 392.040(1), any surviving spouse shall not have a

spousal interest in land sold in good faith after marriage to satisfy an

encumbrance created before marriage or to satisfy a lien for the purchase

money.

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      10.      The Borrowers have defaulted on the Note and Mortgage by failing

to make payments when due.

      11.      RHS has, in accordance with the loan documents, accelerated the

loan and declared the entire principal balance, together with all accrued and

unpaid interest and all other sums due under the loan documents, to be due

and payable.     Further, RHS sent notice to the Borrowers of the default and

acceleration of the loan.

      12.      In accordance with the loan documents, the United States is

entitled to enforce the Mortgage through this foreclosure action and to have

the Property sold to pay all amounts due, together with the costs and

expenses of this action.

      13.      The unpaid principal balance on the Note is $44,441.80 with

accrued interest of $5,702.09 through November 22, 2016 with a total subsidy

granted of $26,103.47, escrow charges of $711.38, late charges in the amount

of $52.16, and fees assessed of $7,609.26, for a total unpaid balance of

$84,620.16 as of November 22, 2016.     Interest is accruing on the unpaid

principal balance at the rate of $10.455 per day after November 22, 2016.

      14.      The Property is indivisible and cannot be divided without

materially impairing its value and the value of RHS's lien thereon.

      15.      On July 13, 2015, Carrie Ann Groves n/k/a Carrie Ann Gonzalez and

Manuel Gonzalez, Jr., filed a Chapter 7 bankruptcy petition in the Bankruptcy

Court for the Western District of Kentucky, Case No. 15-50381.     The

Bankruptcy Court granted Borrower Carrie Ann Groves n/k/a Carrie Ann Gonzalez

and Manuel Gonzalez, Jr., a discharge on November 3, 2015.     The United States

does not seek through this action to impose personal liability against Carrie

Ann Groves n/k/a Carrie Ann Gonzalez or Manuel Gonzalez, Jr. for the default

of Carrie Ann Groves n/k/a Carrie Ann Gonzalez on the Note and Mortgage.

      16.      On May 26, 2017, David W. Groves and Melissa H. Groves filed a

Chapter 7 bankruptcy petition in the Bankruptcy Court for the Western

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District of Kentucky, Case No. 17-50335.   The Bankruptcy Court granted David

W. Groves and Melissa H. Groves a discharge from personal liability on

September 6, 2017.   The United States does not seek through this action to

impose personal liability against Borrower David W. Groves or Melissa H.

Groves for the default of David W. Groves on the Note and Mortgage.

      17.   Defendant JPMorgan Chase Bank, NA may claim an interest in the

Property by virtue of a mortgage recorded on December 15, 2006 in Mortgage

Book 674, Page 252 in the Calloway County Clerk's Office, a copy of which is

attached as Exhibit D.   The interest of this Defendant is inferior in rank

and subordinate in priority to the first mortgage lien on the Property in

favor of RHS, and the Plaintiff calls upon this Defendant to come forth and

assert its interest in or claim upon the Property, if any, and offer proof

thereof, or be forever barred.

      18.   There are no other persons or entities purporting

to have an interest in the Property known to the Plaintiff.

      WHEREFORE, Plaintiff, the United States of America, on behalf of RHS,

demands:

      a.    In rem judgment against the interests of the Borrowers in the

Property in the principal amount of $44,441.80, plus $5,702.09 interest as of

November 22, 2016, and $26,103.47 for reimbursement of interest credits,

escrow charges of $711.38, late charges in the amount of $52.16, and fees

assessed of $7,609.26, for a total unpaid balance due of $84,620.16 as of

November 22, 2016, with interest accruing at the daily rate of $10.455 from

November 22, 2016, until the date of entry of judgment, and interest

thereafter according to law, plus any additional costs, disbursements and

expenses advanced by the United States;

      b.    That the United States be adjudged a lien on the Property, prior

and superior to any and all other liens, claims, interests and demands,

except liens for unpaid real estate ad valorem taxes;

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         c.   That the United States' lien be enforced and the Property be sold

in accordance with Title 28 U.S.C. §§ 2001-2003 subject to easements,

restrictions and stipulations of record, but free and clear of all other

liens and encumbrances except liens for any unpaid ad valorem real property

taxes;

         d.   That the proceeds from the sale be applied first to the costs of

this action, second to any ad valorem real property taxes, if any, third to

the satisfaction of the debt, interest, costs and fees due the United States,

with the balance remaining to be distributed to the parties as their liens or

interests may appear;

         e.   That the Property be adjudged indivisible and be sold as a whole;

and

         f.   That the United States receive any and all other lawful relief to

which it may be entitled.


                                      UNITED STATES OF AMERICA

                                      RUSSELL M. COLEMAN
                                      United States Attorney


                                      s/ William F. Campbell
                                      William F. Campbell
                                      Assistant U.S. Attorney
                                      717 West Broadway
                                      Louisville, Kentucky 40202
                                      Phone: 502/582-5911
                                      Fax:    502/625-7110
                                      bill.campbell@usdoj.gov




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 usDA.nHs
 Form FmHA 1940-16
 {Rov. lG96)




                                                             PROMISSORY NOTE

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tsOnROwEB'S PROMTSE TO PAY. ln raturn for a loan that I hav€ received, I promlee to pay to the ordff of
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States of Amerlca, acting through the Rural Houslng Servlce (and its succesgorsll"Govornment")
(this arnount ls callad 'principal'), plus interest.
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INTEHEST. lnterest will be charged on ths unpaid prlncipal until the full amount of tho prlnclpal has been paid. t will
pay intereat at a yearly rate of
snd after any default described below.
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PAYMENTS. I agree to pay princlpal and interest uslng one of two alternatives lndicated below:

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such arnounts havs been detormined. I agreo to pay principal and interast ln lnstallments as indlcated ln the box below.

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th€ box below.

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for qE                                                                                --r$g$_lg-_ ,_ISg_ and continulng
            .months. I will make thsso payments every month untit I have paia al ot tfra pffiiEaiffiint"r'"st and any
othat chargos described below that I may owe under this note. My monthly payments wlit Oa applied to intersst
balore principal. !f on, Jqtv       ?6               ,!Q
                                                , I still owe amounts under this note, I will pay those amounts ln full on
that dste, which ls called the 'maturity date."
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PRINCIPAL AOVANCE$. lf the sntils prlnclpcl amount of the loan lE not advanced at the time of loan closing, the
unadvancad balanco of the loan will be advanced at rny requ€st provided the Government agrses to the advance. The
Governrnent must maks the advance provlded the advance ls requested for an authorized purpose, lnterest shall
accrue on the amount of each advance beginning on the date of il\e advance as ehown in tho Record of Advances
below. I euthorize the Govornment to snter tho amount and date of cuch advance on the Becord of Advances.

HOUSING ACT OF 1949. This promlssory note ls made pursuant to title V of tha Houslng Act of 1949. lt ls for the
type of loen lndicated in the "Typa of Loan" block at the top of this note. This note shall be subjoct to th€ prosant
regulations ol the Government and to lts futurs regulations not inoonsistont with the express provisions of thls noto.



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plGpayment, there will be no changes in the due date or in the arnorlnt of my month[ plyment
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agre€3 ln writtng to those changes, Prepaymants will be appllad to my loan ln ec*ordan"" wiifr $e Governmont.a
rsgulations and accounting procedures in offect on the data ol rsceipt ol ihe payment.

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ths tofm "Govsfnment' wlll maan tho awlgnea.

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othsr sources at rassonabla rates and terms for the purpoaos for whlch the Govsrnment is giving me this loan.

USE CERTIFICATION. I certify to the Governmsnt that tha funds I am borrowlng from the Government will
                                                                                                      only be
usad for purposss authorizod by the Govarnment.

LEA$E On SALE Of PROPERTY. lf ths proporty constructed, lmprovod, purchased, or refinanced whh tht* loan is
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leassd Or rentad wlth an optlon to purchase, {2} lessed Or rgntod wlthout option to purchaso for 3 yoar* or longer. or
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antira remainlng unpaid balancs of the loan Immediatgly dua and payable. lf thls happens, I will have to lmmediately
pay off the entire loan.

REOUIREMENT TO REFTNANCE WITH PRIVATE CREDIT. I agree to perlodically provide the Government with
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to pay thls nots in full. Thie tequirement doos not spply to any cosigner who signed this nota pursuant to section 5o2
of ths Housing Act of 1949 to compensate for my tack of repayment ability.

SUBSIDY REPAYMENT AGBEEMENT. I agree to the rspayment (recapture) of subsidy grsnted in the form of payment
assistance under the Government's regulations,

CFEDIT SALE     TO NONPROGRAM BORROWER. The provlslons of the paragraphs entitted "Credit Elsewhere
Certification" and "Requir€msnt to Reflnance wlth Prlvate Credit" do not spply if thls loan ie classifled as a
nonprogram loan pursuant to section 5O2 of th€ Houslng Act of ig4g.

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default thg Government may send me a whten notlce telling m6 that if I do not pay thi overdue .mount by r certain
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owe, and any lato charges. lnterset wlll continue to accrue on past due principal end intErest. Even lf, at e time when
I am ln default, the Governmsnt does not requlre mB to pay immediatsly as describe [n the preceding gentence, the
Government will still have the rlght to do so lf I em in default at a later dats. lf tho Government has requlred me to
lmmediately pay ln full as described above, tho Govornm8nt wlll havo tho right to be peid back by me for all ol its
costs and oxponses in enforcing thls promiasory noto to tha extent not prohibited by applicable law. Thoge oxpensss
include, for example. reasonable attorney's feas.




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                              witl deftnd geucrally the title to the Propgty against
     Smxxxrxr.and                                                                    ail ctaims and demands, subjccfto sry

         TI{IS SECURITY INSTRUMENT combines uniform cowrynE
     with lieitcd vsr{ttiotr, by jurisdiction to iodstituii fsr na$onsl                       uso"   and non-unlform coven.ntl
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          LTNIFORM COVENANTS. Bo'ower and Lender covonant
                                                          and agree as fo[ows:


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     the Note.          ""l*ti:l*iH lri?.fl',r,f*llr;I',f,ll,ltT,:*,ff';rffffi,:#?l1J:i3sys#;l?
          2' Funds for Tarcs and Inrunncc. subiect to ap,plicable law o-r.to a ri,ri$E.n waiver
     shall pav to Leader on thc dav montrly paymine ure h'r,t uiiei ril-                        by Led!fi, Borowcr
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    and dcbits to tho Funds and-ths purpose for ihictr
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    additiooal sccurity for alt_sums securid by sris securitiniruiriirtl- ' *'-"    miae. rte rfi,i,-.; plerrged as
    . tltc Funds hcld bv Lender excecd the smounts p-ermittea m uc hcld by applicable taw, Lender sball account to
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    writing urd, in such ctse Borrowcr shall.pay tri    t-lnacritrJamofii;";;ry        tg        up-thb dcficicncy. Borrowcr
    shallmake up the dcficicocy in no.more tliari twelvo      monntipiy,ii*o, at1Joa"rsryrakq
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        3. Appuc.tloB oI PayutnLr.. Urless    applicable llw.or Lendeis reguiations provide orhenvise, all payments
    rcccived by Lcnder under paraglaphs I and z';hall b€ apptied in ttiC rotiiiiri

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    furnish to Lendcr icceipts ewocnctnr the Dayment$
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    Ino amounul ano tor the
                            Pcno{a that lqqcJ ryqtlires. The insurer providing &c insurance shall be chosen Uv
    P!ryy.t,subjg    to l*nderle appmval whhh shilt not be.unreasonadlyt'rrhhitd"- ii          $fi;;#;[;;ili.j;
    covct8gs OcscnD€d ADOve, at Lcndet,s optt0n LoodCr may obtain covcrage to protcst LCnderrs rigl6 in 6rc
    pursuant to paragraph 7.
                                                                                                            koperty
        All insurarcc pligics ed rcne!{sls shsll bn      !l f
                                                           for4 acceptablo to Lcnder and shall include a standard
    mo4gsgceclausc. Lendcr..shall.hyc9ut.shttoholdthe-policiesairdronewsts. 1lL.niir}qi,iriilHnor.vcrshal
    promPuy glye b l.cnder 8u recclpa ot PaldPrcmiums and rencrval noticcs. In the cvent of losri Boriower shall
                                                                                                                    civc
    prompt notice to the insurance canier and Lendcr. Lender may make poofof ir;r if-11ji
    Borrower.
                                                                                                       d;i orr--rpti6;
        Unless Lcoder and Borrowtr.gl{terwise agrec in writirlg,. insurance procee<ts drall be appticd to testoration or
    $_.I   :,f tl,f *-"ry-ry {ryg:!'-[ ry .rcstola$on or repaii is ccorcmicalty tasiutJ ano -ff;a;a-#fity-ii ,Ii
    lcsscned. ttt}tc rostot"tion orrepalr.is not economlsallyfeasible or Lcridcr's sccuilty would bc lesseried, thc
    insurancc proceeds shEll b€ applied to the sums securcd- by_this SccuJty lnir,rmcni-wli;h,;.;Hideo due, wih
    !oI. e*gest quid 1o Borrower. If Borower abandoru thi hoperty, oidoes not answsr wittrin ttri*y (i[iaryt-;
    notice from Lcndcr tha the inrumrce carrier has offercd to sattla i clalm, thon Lcndcr may cottcct-tlc mrufanc€
    proceedr.. t utcg may use..*rc proc9gls
                                              !.o.rcn95-gr.rcstorc uc Fmpirtj tr 6'psrud;dd;d 6yfris
    lnstrumcnL whether or not thcn due. The thirty (30) day pcriod wiil lircin when the noticc is siven.
                                                                                                          -       ffi;id
         Unlo$ Lcndcrsnd Bonowerothcrwis-e^agree io unl@g; arry a$ltic*ion of wrocceds-to principal rhalt not
    sxtend or posFone ths duc {ate 9f tho mon&ly paymcnts rsfencd io ii'pnragraphs l'and 2 or chinec tfro amouni 6i
    fto pa1meats. If a$or acceleration the Property is acquired by Lender. Bonoiverrg risht to any i&urence oolicies
    and procceds- resuJtjng frory dlmoge to tho Property.prior to the acquisiiion shall pass 6 Uenad to rhe sxtsrir of ttrc
    sums sccurcd by tbis Sccurity lnstrument immediarcly prior to tbo aiqui,sition.
        6.     Preservetion, Melnlenancc, and Protecilon of the Propertyt Borrowor's laan Aonlication:
     I,cssaholds. Bormwcr shall not destroy. a_*rS." og iqrpqu tho Propoily, iritow Ure Property ro a*iiioruc oi
     commit waste oo thc Property. Bonowcr shall maintain thir improvemernts iri cood rcnair anil mike rcoairs r"{uired
     by Lcndcr. Bonower shall comply with all laws, ordinances, aid regulations a-ffec*ini thc Prooortv. rjorrowei rhall
     bc ia dcfault if any forfeiturc aition or procceding, whether pivil oi crimind, ls bsn-un that ih Lindet's sood isith
    judgmcnt could rcsult in forfoiture of tht Property-or otherwise marsially inipair tfr'e lien crcated bv thfi Securlry
     Instrument or lrnd#s sccurity inlerest. Bonower may curc such a dgfarilt bi causinl thc action or oroceedinc 6
     be diemirsed wirh e ruting thai, in Lender's good faith iletermination, prccludri rorfcifire olGi-Bonjwoctini;fui
     in thc Propcrty or other material impairment of the lien spated by lhis Security lnstrunent or Leodefs security
    intcrest. Eonowcr shall also bo in dcfault if Borrower, duriug the l6an applicatloir process. save matcrialtv falso or
    inacsuraie information or statomants to Lend€r (or failcd to providc i-inder wlih any h-atcrial inforrmtion) in
    conuection with the lou evidenced by the Note. If this Security Instrument is on a-leaschold. Bonower shall
    c.oppJy yith all dro provisions of the lease, If Borrower acquires fec titlo to *re Propcrty, the leasehold and the fee
    titlc shall not mergo imlcss Lendcr agrecs to thc morgcr in wiiting.
        7,      Protectlon of l*nder'g Rights in thc Property. If Bonowcr fails to perform the covenants and
    sgreements conEhed in &is Sccuriry Instrument, or there is a legal proceedinq tliat mav sisnificantlv affccr
    Lbode/s rights in dre ltoperry (such as a procceding In bankruptcy,lro6rte, for cindernnation dr forfoituro or to
    enforcc laws or rogulations), thcn Lender may do and pay for whatever is necerrarv to protect the value of the
    Property and Lender's ri8b8 iD thc Property. Lender's actions may includo paying anyiumcsccured by a licn which
    has priority over this Security Instrument, rppcaring in court, paying reasonablo-anqrn.yd fccs nnd e-ntcring on the
    Property to makc tEpain. Although Lender may &ke action under this paragraph 7, Lendcr is not rcquired to do so.
         Arqr amounls disbuned by Lcndcr undcr this paragraph 7 shall beiome additional debt of Bono'wer secured by
    this Security lrstrumsnt. _Unless Borowsr and Lender agrqo !9 other torms of paymcng thesc amounB shall berir
    interest ftom the datc of disburcgmcnt st thc Note rate and shall be payable, with iriterest, upon notict from Lrnder
    to Borrower requesting paymenl
         8. Rcflnanclng.. If at any timc it s,hall appcar to Lendc.r ttrrt Sonowcr mEy bs rblo to obtriu c loan frorn a
    responsible coopcntive or private crcdit sourco, at reasorable ratm and termi for loans for sirnilar purposes,
    Boqgrye.r will, tipon the.Lender's.re3y.tst, apply for and accept such loan in guflicient rmount to pay thenoie and
    any indobtcdness secured hercby in full.
         9. Inspcction. Lqnder or its agcnt rnay nukc reasonable entries upon and inspections of thc Prorerly. Lendcr
    shall givc Bonower noticc al thc time of or prior to an inspcction spccifying ressoniblc causs for the iirsDection.
         t0. Condemnatlon. The procecds of any award or claim foi damagos, direct or conscquentiat, iri connection
    with any condentnation or othei hking of any part of tho Property, or foicdnvryancc in lieu of conicmnarion, are
    hcreby asrigncd and shall bc paid l0 Lcndor. ln the cvont ofa total tnking ofi\a Propcrty, thc procceds shall bc


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    Sfilq T.:AYI
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                          to ol-Slcatcr &nn the smourt of tho sums socrred by this Security lnstruincrit immeOiaety bcforu th;
    Fkhg, unlos Bonowcr andl*nder o$crwiso^agrec 11 writing, th'e $rmil;uftd 6t lhil-idirriry iniiiment shali
    be rlducld bY_Fe emourt o[ utc
                                   PJoceqgs.ryuJliplig{ by tle foltowing fraction: (i) the totat ariount of the sunns
    :.S!{cd immcdiately ugfo.t".tt. qli.ng.divided    by_(b). uic hir mukei iutue ixii,cliodty d;;A-iil;ti b;iffili;
    taldng. Any balascc_shall bc paid to. Bonowir. In the event. of a partial aklng of tlio pfoperty in wfrich thc fah
    parkct-wluc-of-&o Propcrty immcdiatoly bafors tho mking is lcss'thrn ths ailount of tlj suins sccurcd berouv
    immcdistely E{orc Fc            u{-T.1!9!o-yq.*3 Lcndsr othenllsc agree in Friting or unless spplicsbtc iai
                                   BIlq
    othenrise.provldcs, the procecds sttall be applied to tre sums securcd by this Security tnilnrment whcr['cr or not thc
    sum.lr afis lhen duc"
         lf   tho Property is abmdoncd by Bonower, or i{, aftcr ooticc by Lcndcr to Borrcwerthat thc condcmlor offers
    tg
      f*g ut-ya.rd qr sctt$ I c]aig fo1.dat,nagp.c Borrower fails to rcspond to l*nder wit]rb frirty (30) days afrer thc
    oatcrlls notlcc ls Slvclt, r,cngcr !3 auuollzed- to plc$ rnd npply the procecds, at its option, cither to roitoration or
    repair of thc ftqcrty or to the-sums securcd bylhis Security iristrum:ong whslhcr or riot thin due, Unless t cnao
    and Borrowor ohcrwise agruo io wrlting,.url application of procccds to principal shall not extcnd or postponi ttro
    due datc of thc monthly pqyments refenEd toin iiragraphs I ind 2 or chaige a'e amouriiof sich-;syrilint :
         11. Borrowcr Not Bcleased; Forbcaraucc By Lcuder Not e Waivci. Exteoslon of 0re timo for psymsnr or
    modification of amortization of the.sums securcd 5y tt i. Security InsmmCnt granrA Lv rcndci-to tiorrowcr ana
    lny successorin iaterest of Bonowcr eball not operaic to rclcass tfio tiaUitity of-ttrc oiigiii* riirno"cr oi eoriJr"J,
    sucsgssors in intsrcsL Lcnder shall not bo required to commencc proccedings againd any succa$w in imercst or
    refuss to odead timc forpayment or-othcnrise-modify amortization of the sufrs sfuuod by dris Security Instnrmcnr
    by reason of any dcmand made by the originat Borrowcr or Borrowe/s succosnon in htcirst. Anv fo'rbatrancc bv
    Lender in cxcrcising any right or rcuedy shall not be a waiver of or precludc tho bxercise of any ridlt or re me dy. '
         t2. Succersorc rnd Arsigns Bound; Jolat and Scveral Uablllty; Co-signtrr. The covciranE urd a*reelirents
    of this Seourity In$trumcnt shall bind and bonofit thc succcesors and assigns o?kndcr and Borrower, subjea to thc
    provisions of paragraph 16. Bonower's covcnants and agreoments sbalfbo joint and sevcral Any ilortwor who
    co-signs this Security Instrumcnt but docs not cxecute he Notc: (a) is co-aigping tris Sscurlty Inirument only to
    mortgage, grant and convry that Botrower's interest in the Property undsr thdterfis of thi: Securiry tnsuumeni&)
    is not personally obligatcd to pay tho sums secured by this Securi* Instrument; and (c) agrccs thai Lendcr urd-ahi
    othcr Bonowormay agrco to extend, modi$, forbearor makc any-accommodations wiih rcgard to the arms of thig
    Sccurity Insuumfft or Ulo Noto without that Borrowet's conscnt,
         13. Notlees. Any noticc to Bonower provldcd for in this Security Insrument shall be givon by delivering ir or
    by mailing it by fir* ilas mdl unlcss applicable law reguirrs uso of imother me0rod. The-notice ihall be dileccd
    to dtc Properly Addrs$ or my other address Bonowcr dcsigratcs by notice to Lcndar. Any notico to Lcndcr shall
    be givcn by    first class muil t9 lendgds addqxs stated hcrein or auy other addrcss Lender designat$ by notics to
                'fuiy
    Bonowcr,           notico proyide_d foq in this Sccurity Instrurnent shall bc deemed to haw bear givcn to Bbrrower or
    Londer whcn givon as provided in this paragraph,
         l{.  Goverrlng Law; Sevcrabllity. ThiS Secuity lnstrumcnt shall be govcrnod by f€&nl law, In the cvcnt
    that rny prcvisioo or clarse of thir Secrrrity Instument or ths Noto conflicts 1ryith applicible lrw, such conflict shall
    not affict other prwisions of this Security Instnrment or tho Note which can bo giveir effect withouttho conflicting
    provision, To drls cud thc provisions of iltis Sccurity Instrumcnt and the Note are declurcd to be scvcrablc. This
    instrumont strall bc subjcct-to tho prescntregulations of Lemdor, and to its future rogulations not inconsistentwith
    rhc express provisions hercof. AU powsrs and ageucies grBntcd ln this instrument are equplcd wlth an intcrest and
    arc incvocable by death or othenrise; and the rights and remedies providcd in this instirment ere cumulative to
    rerncdies provided by law.
         15. Borrowerrs Copy. Borowor acknowledges receipt of onc conformed copy of the Note and of this
    Sccurity Instrument.
         15. TranrfcrofthoPropertyoraBcneficlallnterestlnBorrower.                     IfalloranypartoftbePropertyorany
    interest in it   ir     for a tcnn gieatcr than throe (3) years, lcascd with an ofiion to iuichass, sold, oi trairsferrcd
                          laascd
    (or if a beneficial interest in Bonower is sold or transfcrrcd and Bonower is riot a natural ponon) without Londo/s
    prior wrincn coment, Lcnder may, at its option, requirc lmmedi*e piymcnt in full of ill sums secfird by this
    Security lnstrumenl.
         17. Nondlscimination. lf Bonower lntends to sell or rent tha Prooerty or any Dart of it and har obtaintd
    Lendcr's conscnt to do so (a) ncilhcr Bormwer nor snyons audrorizsd to act firr Borr6rier, witt rofuse to negotietr
    for ths sale or rant8l of thc Property or will drenrise rnaks unavailable or deny thc ltoperty to anyono bcciuse of
    racc, color, religion, sex, national origin, handicap, agc, or ftrnilial status, and (b) Boriorvir rscobrizes as illegl
    and huoby disclaims and will not qoqply with or ettempt to-enforce any rostrictive covenants on dwelling rclatirtg
    to race, color, rcligion, sex, national origin, handicspt age or femilial stshls.
         18. SrIe of Flote; Cbauge of Loan Servlcer. The Note or a partial interesr ln the Notc (together with this
    Security Instrument) may bc sold onc or morc timcs without prior notice to Borowor. A sale may result in a changc
    in the dntity (knowir ag ihe nLoan Sorviccr") that collects mbnthly paym€nrs duc undcr thc No[e and this Securitv


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    Inrlrumcnt. $gc alqp may bc-one or morc changes of tho Loan Servkcr unrclatcd s a salc of fie Note. lfthcrc is-
    a chmgc of thc Loan ScnriEer, Bonower will bc givcn witton noticc of the chanse in accordancc with oaraeraoh l3
    abovo and applicftlc lurv. Th9 noticc will slatc the namc and address of tbe ne[ Loan Servicer and drc addrlls to
    which paymcnts should bc m8ds.
          I9'   Unllorm Fcdcrrl Notr.Juditlsl Fo*clccurc. If        a   unilbrn &deral non-judicial forcclosure law npptloablc
    to foreclosure of this security instument is enacted, Lender slrall havc thc oprion to forecloss 0ris inslir{nem in
    accordance with such federal procedure.
         20. Hazardour Substanccs. Borower shatl not causc or permit the prssence, use, disposal, storage, or reiease
    of any hazardous sub'stanc* on.or in $q Ptopprty. The prccctiing scntence shall irot appli to tlio pros-oncg use, or
    storaic on the PmpcrU of small quantities ol haiardous nrb,stancEs that arc cenenllv iic6enizad io be aorjrorriatc
    to normal residsntial u-ses and to rhaintonanco of dto Property. Borrower shall not dri, nor illorry anyonc ilie io do.
    any&ing affeaing trc Propcrty thal ir in violation of any'federaf srars, or locai envir;i;inrat taw oireBuiation:
                                                                                                                                --
         Bonows shatl promptly give Londer written notico of any invastigation, claim, dcmond, tarrsuit or other action
    by any'govornmcntal or rcgutatory agcnoy or privste party iovolving thc Proporty and any haeardous subsrance or
    envkonmentrl law or tegulation of which Borowcr hag acanl knowledga lfBormwor lcirns, or is notified by any
    go,rcnmenlal or regulrtory authority, tbat rny rcmoval or other rcmcdistion of any hazardotig substance affdctini
    the Propcrty is necessary, Bonowcr ihall prompttylakc all neccssary romedisl actiois in accordance wi0r applicabE
    cnvironmcntal law and rcsulatioos.
         As used in this psragraph 'hazardous substancasu arc those substsnccs defined ar ioxic or hazudous subStances
    by eovironmental lsw aad thc following substances: gasoline, koroseno, other flammablo or toxic psttoleunr
    pioUuctq roxic posticidcs and herbicides, volatile solvaatc matcrials containing asb€stos or formaldohydo, and
    iadioactive mare-rials. As used in tris paragraplq "envircnmental lawo means fedcral taws and rcgulations ind laws
    and regulations of thc jurisdiction whcrCthb Propcrly is looatcd thtt rclqte to health, safoty-or erwironmenbl
    -
    protcction.
         21, Cross Collateralizrtlon. Defauh hcreunder shatl coustitute default under any other real csBte security
    lnstsurnont hcld by Lcader and executed or assumed by Borrower, and default undir any other such eecurity
    instrument shatl crinstihttc default hcroundcr.

          NON-ITNIFOBM COYXNANTS. Sorrcrver aad Lcndar Arrthtrtovcnant and sgrcc sr follounn
          22. SHOULD DEtrAUtT occur ln tho perfonnance ar dischargc of any obligadon in lhis in*umcnt or
    securcd by thls lnitrument, or drould any ono of the parties narncd as Borrower dio or bo declarcd an incompetemg
    or should-any onc of tle parties namcd as Borrorvcr bc discharged in banknrptcy or declared an insolvenq oi makc
    an assisnmcit for the benefit of crcditors, Lcndcr, at its option, with or without notice, may: (a) declare he enliro
    amounlunpaid under Se nolo md any indcbtednc$ to L€oder herehy sccurcd immediately duo and pryablc, (b) for
    thc accouu:t of Borrowcr incur and pay rrasonable oxlrcnses for rrpair or maintcnonce of and tako possession of,
    operato or rcnt rhc Properry, (c) upori aiplicstion by it rind productioh of this instrument, without othcr cvidonce snd
    wi6om notics of hcaring btiiid'applicition, hav6 a recoiVor appointed for thc Properiy, with tho usual powcrs of
    recclvcrs in liko cases, (il) forcclosir:thir instrument qs providcd herein or by larr. and (o) enforoe any md all o$cr
    richts rnd
    rigbtr      remedies proiifgd
           and rernedios             hcrein or by present or futurc law'
                         rrovided heroir
        - il, fhCprocedas of foreclosurt sa'lcshall bc applied in the following order to the payment of: (a) costs and
    expensss inciitent to euforcing  or complying with the provisions hereof, (b) any prior ticns required by law ot a
    coirpctent coufi to be so pai4 (c) the debt widenced by the note and dl indsbtedness to Lender socurtd hcreby,
    (d) iirforior licns ofrecord rcquirid by law or a compeient coun to be so peid. (o) at Lender's option, any othor
    inllcbtedncss of Borowor owihg to linder, and ($ ari-y balurcc to Borrower. At foreclosrc or othor -sat^o of all or
    inv part ofdre Property, Lendoi and ir agino mh! bid and purchasc as a sBonger and may pay l,cndcr's chare of
    tUJ iurcfase priccby iieaiting such amdl:nt on aiy debu oTBonowcr owing-to Lender,-iri the order prescribcd
    above.
         2,1. Bonower agreos that l*ndel will not bc bound by any present or fuhue state laws, (a) pmviding for
    vatuation,               homest€ad or exemption of thc PJoperty.
                appraisal, lomest€ad
         adon, appraisal,                                                                       mnintenance of an
                                                                    Property. (b) prohibiting mdntenance          an ac['ron- for. a
    dcficiency jiitemcni
                 jiitgmcnt or limiting rg tho
                                limiting-               tlfrogf or the time wiihin
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    orarcribins. anY other str$le oI   oI limitatiory G) atlolving any right of redemption
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    forectosurE sali,'aor (o) limitiner&c   conditionr whlch Lendcr m*v
                                        d condhions                     m*y bv      ,gulotion impose, including tre inrercgt ratc it
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                        condition oflpproving
    may chargc, as a coir,ittion    of approving a tronsfor
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    tlre boncfrt of any such statestato ldw.  Borrowc heroby rolinquishts, waives, and conveys all righB, inchoate or
                                        law. Borrower
    consurnmate, of discenq dorver, and curtasy.
         25-
         25. Release.     Uoon tormination rof this nrortgage, after paynrent in full, the mortgageo, at Borrou'er's expensei
              Releesc. Upon
    shallI execute and fiki                   i      rcnts bf
                        file or record such instruruents       rolease, satisfaction and terrnination in proper
                                                            ofrelease.                                    orooer form pursuant
                                                                                                                       Dursuant to
    thc reouiremenB contaiocd in KRS 382.365
          26, Biderr io thlr $*curlty Ingtrument. lf onc or more riders are exscuied by Borrorrer and recorded
    togethor rvlth this Srcurity Inrtnrdreng thc covenants and agrtements of each ridu shall bc incoryoratcd into ond




                                                                                                                       Page 5   of6


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Case 5:18-cv-00096-TBR Document 1-2 Filed 06/28/18 Page 6 of 7 PageID #: 15




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            Gerald BeU
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Case 5:18-cv-00096-TBR Document 1-2 Filed 06/28/18 Page 7 of 7 PageID #: 16




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    Form RHS 3550-lz
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               Return on borrcwCr's origiod cquily (l0O% - pqcentage io paragraph
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         Case 5:18-cv-00096-TBR Document 1-4 Filed 06/28/18 Page 1 of 2 PageID #: 18



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Case 5:18-cv-00096-TBR Document 1-4 Filed 06/28/18 Page 2 of 2 PageID #: 19




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                      Case 5:18-cv-00096-TBR Document 1-5 Filed 06/28/18 Page 1 of 1 PageID #: 20


2JS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
            UNITED STATES OF AMERICA                                                                            DAVID W. GROVES, ET AL.

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant             CALLOWAY
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
✔1
u        U.S. Government                 u 3 Federal Question                                                                       PTF     DEF                                         PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          u 1     u 1     Incorporated or Principal Place      u 4 u4
                                                                                                                                                    of Business In This State

u2       U.S. Government                 u 4 Diversity                                               Citizen of Another State      u 2       u 2    Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                   of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a       u 3       u 3    Foreign Nation                       u 6      u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY            u 610 Agriculture                u 422 Appeal 28 USC 158          u   400 State Reapportionment
u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -       u 620 Other Food & Drug          u 423 Withdrawal                 u   410 Antitrust
u   130 Miller Act                   u    315 Airplane Product              Med. Malpractice         u 625 Drug Related Seizure              28 USC 157                u   430 Banks and Banking
u   140 Negotiable Instrument                Liability                 u 365 Personal Injury -              of Property 21 USC 881                                     u   450 Commerce
u   150 Recovery of Overpayment      u    320 Assault, Libel &              Product Liability        u   630 Liquor Laws                   PROPERTY RIGHTS             u   460 Deportation
       & Enforcement of Judgment             Slander                   u 368 Asbestos Personal       u   640 R.R. & Truck             u 820 Copyrights                 u   470 Racketeer Influenced and
u   151 Medicare Act                 u    330 Federal Employers’            Injury Product           u   650 Airline Regs.            u 830 Patent                            Corrupt Organizations
u   152 Recovery of Defaulted                Liability                      Liability                u   660 Occupational             u 840 Trademark                  u   480 Consumer Credit
       Student Loans                 u    340 Marine                    PERSONAL PROPERTY                   Safety/Health                                              u   490 Cable/Sat TV
       (Excl. Veterans)              u    345 Marine Product           u 370 Other Fraud             u   690 Other                                                     u   810 Selective Service
u   153 Recovery of Overpayment              Liability                 u 371 Truth in Lending                    LABOR                  SOCIAL SECURITY                u   850 Securities/Commodities/
        of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal          u   710 Fair Labor Standards     u 861 HIA (1395ff)                      Exchange
u   160 Stockholders’ Suits          u    355 Motor Vehicle                 Property Damage                 Act                       u 862 Black Lung (923)           u   875 Customer Challenge
u   190 Other Contract                       Product Liability         u 385 Property Damage         u   720 Labor/Mgmt. Relations    u 863 DIWC/DIWW (405(g))                12 USC 3410
u   195 Contract Product Liability   u    360 Other Personal                Product Liability        u   730 Labor/Mgmt.Reporting     u 864 SSID Title XVI             u   890 Other Statutory Actions
u   196 Franchise                            Injury                                                         & Disclosure Act          u 865 RSI (405(g))               u   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS           u   740 Railway Labor Act          FEDERAL TAX SUITS              u   892 Economic Stabilization Act
u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate       u   790 Other Labor Litigation   u 870 Taxes (U.S. Plaintiff      u   893 Environmental Matters
✔
u   220 Foreclosure                  u    442 Employment                      Sentence               u   791 Empl. Ret. Inc.               or Defendant)               u   894 Energy Allocation Act
u   230 Rent Lease & Ejectment       u    443 Housing/                     Habeas Corpus:                   Security Act              u 871 IRS—Third Party            u   895 Freedom of Information
u   240 Torts to Land                        Accommodations            u   530 General                                                     26 USC 7609                        Act
u   245 Tort Product Liability       u    444 Welfare                  u   535 Death Penalty                                                                           u   900Appeal of Fee Determination
u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u   540 Mandamus & Other                                                                               Under Equal Access
                                             Employment                u   550 Civil Rights                                                                                   to Justice
                                     u    446 Amer. w/Disabilities -   u   555 Prison Condition                                                                        u   950 Constitutionality of
                                             Other                                                                                                                            State Statutes
                                     u    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                             Appeal to District
✔1
u        Original        u 2    Removed from          u 3 Remanded from             u 4 Reinstated or u 5 Transferred          from
                                                                                                                  another district    u 6 Multidistrict                      u 7       Judge from
                                                                                                                                                                                       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. SECTION 1345
VI. CAUSE OF ACTION                         Brief description of cause:
                                            RURAL HOUSING SERVICE (RHS) f/k/a FARMERS HOME ADMINISTRATION (FmHA) FEDERAL FORECLOSURE
VII. REQUESTED IN                           u    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23                                       $84,620.16                               JURY DEMAND:         u Yes     u✔No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

6/28/2018                                                                    s/ William F. Campbell
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
         Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 1 of 16 PageID #: 21




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                DAVID W. GROVES
                175 West Drive
                Murray, KY 42071-9830


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
    Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 2 of 16 PageID #: 22




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 3 of 16 PageID #: 23




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                DAVID W. GROVES
                785 Oak Park Blvd.
                Calvert City, KY 42029


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
    Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 4 of 16 PageID #: 24




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 5 of 16 PageID #: 25




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                CARRIE ANN GROVES n/k/a
                CARRIE ANN GONZALEZ
                4311 Spruce Road
                Melissa, Texas 75454


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




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(BY) DEPUTY CLERK
    Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 6 of 16 PageID #: 26




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 7 of 16 PageID #: 27




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                MANUEL GONZALEZ, JR.,
                as spouse of CARRIE ANN GONZALEZ
                4311 Spruce Road
                Melissa, Texas 75454


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




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(BY) DEPUTY CLERK
    Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 8 of 16 PageID #: 28




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
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‫܆‬         Other (specify):
          ______________________________________________________________________________________
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                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 9 of 16 PageID #: 29




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                MELISSA H. GROVES, as spouse
                Of David W. Groves
                175 West Drive
                Murray, KY 42071-9830


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



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CLERK                                                                    DATE




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(BY) DEPUTY CLERK
Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 10 of 16 PageID #: 30




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
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          discretion then residing therein. Name of person with whom the summons and complaint were left:
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          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
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‫܆‬         Other (specify):
          ______________________________________________________________________________________
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                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 11 of 16 PageID #: 31




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                MELISSA H. GROVES, as spouse
                Of David W. Groves
                785 Oak Park Blvd.
                Calvert City, KY 42029


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



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CLERK                                                                    DATE




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(BY) DEPUTY CLERK
Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 12 of 16 PageID #: 32




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
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‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
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          ______________________________________________________________________________________


‫܆‬         Other (specify):
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                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 13 of 16 PageID #: 33




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                JPMORGAN CHASE BANK, NA
                SERVE: Strother and Handel
                1096 Duval Street, Suite 210
                Lexington, Kentucky 40515


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



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CLERK                                                                    DATE




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(BY) DEPUTY CLERK
Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 14 of 16 PageID #: 34




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
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‫܆‬         Other (specify):
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                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
        Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 15 of 16 PageID #: 35




                             United States District Court
                     WESTERN                          DISTRICT OF                 KENTUCKY_____________
                                                    AT PADUCAH


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        David W. Groves, et al.


        TO:     (Name & Address of Defendant)

                JPMORGAN CHASE BANK, NA
                SERVE: C T Corporation System,
                Registered Agent
                306 W. Main Street, Suite 512
                Frankfort, KY 40601


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Assistant U.S. Attorney
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
Case 5:18-cv-00096-TBR Document 1-6 Filed 06/28/18 Page 16 of 16 PageID #: 36




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
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          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
